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                                                      UNITED STATES DISTRICT COURT
                             13
                                               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                  BRIAN HENDRICKS, ANDREW                  Case No. 2:19-cv-6840-CJC-MRW
                             17   SAGALONGOS, on behalf of
                                  themselves and all others similarly      Hon. Cormac J. Carney
                             18   situated,
                                                                           JOINT NOTICE OF SETTLEMENT
                             19                  Plaintiffs,               IN PRINCIPLE AND REQUEST TO
                                                                           VACATE DECEMBER 16, 2022
                             20         vs.                                STATUS CONFERENCE
                             21   AETNA LIFE INSURANCE                     Filed concurrently with [Proposed] Order
                                  COMPANY,
                             22                                            Action Filed: August 7, 2019
                                                 Defendant.
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M AN AT T , P H E L P S &
  P H IL L IP S , L L P                                                             JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
  AT T O RN E YS AT L A W                                                                      CASE NO. 2:19-CV-6840-CJC-MRW
    S A N F R A N C I S CO
               Case 2:19-cv-06840-CJC-MRW Document 124 Filed 12/02/22 Page 2 of 3 Page ID #:6315



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                              6 BRIAN HENDRICKS and
                                ANDREW SAGALONGOS and the Class
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M AN AT T , P H E L P S &
  P H IL L IP S , L L P                                                    JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
  AT T O RN E YS AT L A W                                                             CASE NO. 2:19-CV-6840-CJC-MRW
    S A N F R A N C I S CO
               Case 2:19-cv-06840-CJC-MRW Document 124 Filed 12/02/22 Page 3 of 3 Page ID #:6316



                              1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
                              2         Plaintiffs Brian Hendricks and Andrew Sagalongos (“Plaintiffs”), on behalf
                              3 of themselves and all others similarly situated, and Defendant Aetna Life Insurance
                              4 Company (“Aetna”), have reached a settlement-in-principle of this action as
                              5 memorialized in a Memorandum of Understanding.
                              6         Plaintiffs anticipate filing a motion for preliminary approval of a global class
                              7 action settlement in this action and the related action Howard v. Aetna Life
                              8 Insurance Company, Case No. 2:22-CV-01505-CJC-MRW on or about February
                              9 13, 2023. The parties therefore jointly and respectfully request that the Court vacate
                             10 the status conference on December 16, 2022 at 1:30 p.m. and set a new status
                             11 conference on or about February 17, 2023 to address next steps. The parties
                             12 concurrently submit a [Proposed] Order.
                             13
                             14   Dated: December 2, 2022                MANATT, PHELPS & PHILLIPS, LLP
                             15
                                                                         By: /s/ Joseph E. Laska*
                             16                                                 Joseph E. Laska
                                                                                Justin Jones Rodriguez
                             17                                                 Nathaniel Cohen
                                                                                Attorneys for Defendant
                             18                                                 AETNA LIFE INSURANCE
                                                                                COMPANY
                             19
                             20                                         *I, Joseph E. Laska, attest that all other
                                                                        signatories listed, and on whose behalf the
                             21                                         filing is submitted, concur in the filing’s
                                                                        content and have authorized the filing.
                             22
                             23   Dated: December 2, 2022                GIANELLI & MORRIS
                             24
                             25                                          By:   /s/ Joshua S. Davis
                                                                               Robert S. Gianelli
                             26                                                Joshua S. Davis
                                                                               Adrian J. Barrio
                             27                                                Attorneys for Plaintiffs,
                                                                               BRIAN HENDRICKS; ANDREW
                             28                                                SAGALONGOS
M AN AT T , P H E L P S &
  P H IL L IP S , L L P                                                                  JOINT NOTICE OF SETTLEMENT IN PRINCIPLE
  AT T O RN E YS AT L A W                                                  1                        CASE NO. 2:19-CV-6840-CJC-MRW
    S A N F R A N C I S CO
